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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SMOOTHAIR, INC., d/b/a Form-A-Funnel,
Inc.                                                Case No. 23-cv-7195

               Plaintiff,                           Judge Manish S. Shah

v.                                                  Magistrate Judge Jeffrey Cummings

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff hereby
dismisses with prejudice all causes of action in the amended complaint against the following
Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

     Def No.                                       Defendant
       #64                                          ziyistore
      #140                                         cabestdeal
      #153                                       ecolifebestter
      #156                                        eshopsaving

        The respective Defendants have not filed an answer to the complaint or a motion for
summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule
41(a)(1) is appropriate.



Date: December 14, 2023                             Respectfully submitted,

                                                    /S/BRANDON BEYMER
                                                    BRANDON BEYMER (ARDC NO. 6332454)
                                                    DALIAH SAPER (ARDC NO. 6283932)
                                                    SAPER LAW OFFICES, LLC
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                                                     DS@SAPERLAW.COM

                                                     ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE
       I hereby certify that on December 14, 2023, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system and I will send an e-mail to the e-mail addresses

provided for the relevant Defendant(s) by third parties.

                                                                     /s/ Brandon Beymer
                                                                       Brandon Beymer
